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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON


Vincent DiPietro,

               Plaintiff/Counterclaim Defendant,

v.                                                                         Case No. 3:06-cv-221
                                                                          Judge Thomas M. Rose

Morgan Stanley DW Inc.,

               Defendant/Counterclaimant.



               ENTRY AND ORDER GRANTING DEFENDANT’S MOTION
               FOR SUMMARY JUDGMENT (DOC. 15).


        This matter is before the Court for decision on Defendant’s Motion for Summary Judgment.

Doc. 15. The instant case stems largely from the termination of Plaintiff Vincent DiPietro (DiPietro)

from his employment with Defendant Morgan Stanley DW Inc. (Morgan Stanley). Morgan Stanley

moves this Court to grant Summary Judgment on all four of DiPietro’s claims: (1) national origin

discrimination under Title VII and ORC § 4112.02; (2) retaliation under Title VII; (3) breach of

contract; and (4) defamation. Doc. 15. DiPietro presents no direct evidence of a discriminatory

motive on behalf of Morgan Stanley and cannot prove his prima facie case of indirect

discrimination. Also, DiPietro cannot establish a causal link between his conduct and his

termination sufficient to prove his retaliation claim. Further, since DiPietro was an at-will

employee, he gave no consideration when he resigned in exchange for forgiveness of his loans and

so no contract was formed. Finally, DiPietro’s defamation claim is time-barred by the statute of

limitations. Therefore, Summary Judgment will be awarded on all of DiPietro’s claims.
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A.      Background

        In the fall of 2000, Vincent DiPietro left Paine Webber and began employment with

Morgan Stanley as a financial advisor in the fall of 2000. See Deposition of Vincent DiPietro,

taken on March 28, 2007, at 29, hereinafter “DiPietro Depo.” Although DiPietro originally

worked in Morgan Stanley’s downtown Dayton office, he moved to the Centerville office in

2003 when the downtown office closed. DiPietro Depo. at 54. In Centerville, Douglas Cline

was DiPietro’s Branch Manager until February 2004, when Anthony Ritter became his Branch

Manager. DiPietro Depo. at 53, 61.

        1.     The loan agreement between Morgan Stanley and DiPietro

        In January 2001, DiPietro received a loan from Morgan Stanley for $567,732. DiPietro

Depo. at 30, 39-40. The amount of the loan was based on client accounts DiPietro transferred to

Morgan Stanley from Paine Webber. Id. In the loan agreement signed by DiPietro and Morgan

Stanley, Morgan Stanley agrees to forgive the debt in equal installments over four years,

provided DiPietro meet certain requirements. See DiPietro Exhibit 4 as attached to DiPietro

Depo, at p.00092, hereinafter “DiPietro Ex.” The loan agreement also states that the agreement

“may not be modified or amended except by a writing signed by both parties hereto.” DiPietro

Ex. 4 at p. 00089.

        2.     DiPietro’s poor attendance and conflicts with his sales assistant

        At the Centerville office, sales assistant Ryka Shaffer was assigned to assist DiPietro and

several other financial advisors. DiPietro Depo. at 55-56. Her role included taking and

forwarding messages from customers, completing and forwarding paper work, and helping



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financial advisors complete financial transactions. DiPietro Depo. at 56. Shaffer and DiPietro

did not have a positive working relationship. DiPietro claims Shaffer was unwilling to help him

and spoke negatively about him to clients. DiPietro Depo. at 114, 133, 148. Shaffer complained

to Ritter and Thomas Finley, the Branch Service Manager, about DiPietro’s frequent absences

from the office and his failure to check his messages. See Affidavit of Vincent Ritter at ¶ 4,

hereinafter “Ritter Aff.;” Affidavit of Thomas Finley at ¶ 8, hereinafter “Finley Aff.” Ritter and

Finley spoke to DiPietro about his poor attendance and conflicts with Shaffer on several

occasions. Ritter Aff. at ¶ 5; Finley Aff. at ¶ 9. On February 4, 2005, Ritter and Finley met with

DiPietro about these issues. DiPietro Depo. at 151. They told DiPietro he could resign and, if

so, Morgan Stanley would forgive the remaining balance of his loan. Id. at 149-50. DiPietro

requested time to think about the proposal. Id. at 150. On February 9, 2004, Ritter gave

DiPietro a final ultimatum: either he would resign that day in exchange for forgiveness of his

loan, or he would be terminated. Id. at 156. DiPietro chose to resign. Id. at 158-59.

       3.      Incidents involving DiPietro and Steve O’Neill

       During DiPietro’s employment in the Centerville office, there were several incidents

involving him and co-worker Steve O'Neill. In early 2003, DiPietro and O’Neill had a dispute

concerning the use of financial software. DiPietro Depo. at 57-61. The problem was resolved

when the office agreed to share the software. Id. at 61.

       Shortly after the software incident, O’Neill posted a memo on the break room wall

entitled “Vincent DiPietro Sightings.” Id. at 65. Although the memo made no explicit reference

to Jimmy Hoffa, DiPietro felt the memo was a derogatory slant and understood it to be a




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reference to the infamous Teamsters president. Id. at 66, 219. DiPietro reported the memo to the

Branch Manager at that time, Douglas Cline, who took the memo down. Id. at 68.

       After the memo incident, O'Neill began sending e-mails to DiPietro containing jokes that

were anti-Semitic, anti-Catholic, anti-Islamic, and negative to women. Id. at 69. DiPietro

informed Cline about O'Neill's behavior. Id. at 72. When Anthony Ritter became DiPietro's

Branch Manager in February 2004, DiPietro told him about these emails as well. Id. at 53, 72.

Both Branch Managers told O'Neill to stop emailing the jokes. Id. at 72. O'Neill stopped

sending emails, but then began to hand-deliver notes to DiPietro and would make personal visits

to DiPietro's office to tell him offensive jokes. Id. at 69-70.

       The final incident between DiPietro and O’Neill occurred on August 24, 2004. Id. at 75.

DiPietro, O’Neill, Ritter, and Finley were standing near Finley’s office, talking at the end of the

work day. Id. During the conversation, O’Neill produced a small pocketknife, and jokingly

commented that he might give DiPietro a “haircut.” See Finley Aff. at ¶ 5. Using a “mob like

voice,” O’Neill said, “Yo, how bout I lower his eyebrows.” DiPietro Depo. at 76. According to

DiPietro, the incident “seemed like it might have been mildly amusing” to Ritter. Id. at 78.

DiPietro felt threatened by the incident and left the office. Id. at 78. The following day,

DiPietro complained to Ritter about the knife incident. Id. at 80-81. Ritter reprimanded O’Neill

and reassigned him to Morgan Stanley’s Beavercreek office to avoid further contact with

DiPietro. Id. at 88-89; Affidavit of Steve O’Neill at ¶ 14. After O’Neill’s transfer in August

2004, DiPietro alleges no further problems with national origin discrimination. DiPietro Depo.

at 92-93.




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B.       Standard of Review

        The standard of review applicable to motions for summary judgment is established by

Federal Rule of Civil Procedure 56 and associated case law. Rule 56 provides that summary

judgment “shall be rendered forthwith if the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as

to any material fact and that the moving party is entitled to a judgment as a matter of law.” Fed.

R. Civ. P. 56(c). Alternatively, summary judgment is denied “[i]f there are any genuine factual

issues that properly can be resolved only by a finder of fact because they may reasonably be

resolved in favor of either party.” Hancock v. Dodson, 958 F.2d 1367, 1374 (6th Cir. 1992)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). Thus, summary judgment

must be entered “against a party who fails to make a showing sufficient to establish the existence

of an element essential to that party’s case, and on which that party will bear the burden of proof

at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322, (1986).

        The party seeking summary judgment has the initial burden of informing the court of the

basis for its motion, and identifying those portions of the pleadings, depositions, answers to

interrogatories, admissions and affidavits which it believes demonstrate the absence of a genuine

issue of material fact. Id., at 323. The burden then shifts to the nonmoving party who “must set

forth specific facts showing that there is a genuine issue for trial.” Anderson, 477 U.S. at 250,

(quoting Fed. R. Civ. P. 56(e)). Once the burden of production has shifted, the party opposing

summary judgment cannot rest on its pleadings or merely reassert its previous allegations. It is

not sufficient to “simply show that there is some metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rule 56


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“requires the nonmoving party to go beyond the pleadings” and present some type of evidentiary

material in support of its position. Celotex Corp., 477 U.S. at 324.

           In determining whether a genuine issue of material fact exists, a court must assume as

true the evidence of the nonmoving party and draw all reasonable inferences in the favor of that

party. Anderson, 477 U.S. at 255. If the parties present conflicting evidence, a court may not

decide which evidence to believe by determining which parties’ affiants are more credible. 10A

Wright & Miller, Federal Practice and Procedure, § 2726. Rather, credibility determinations

must be left to the fact-finder. Id.

           Finally, in ruling on a motion for summary judgment, “[a] district court is not…obligated

to wade through and search the entire record for some specific facts that might support the

nonmoving party’s claim.” InterRoyal Corp. v. Sponseller, 889 F.2d 108, 111 (6th Cir. 1989).

Thus, in determining whether a genuine issue of material fact exists on a particular issue, the

court is entitled to rely upon the Rule 56 evidence specifically called to its attention by the

parties.

           In addition to moving for summary judgment on DiPietro’s federal claim, Morgan

Stanley is seeking summary judgment on DiPietro’s claims brought under Ohio law. In

reviewing an Ohio claim, this Court must apply the law of Ohio, as interpreted by the Supreme

Court of Ohio. Northland Ins. Co. v. Guardsman Prods. Inc., 141 F.3d 612, 617 (6th Cir. 1998).

Specifically, this Court must apply the substantive law of Ohio “‘in accordance with the then-

controlling decision of the highest court of the State.”’ Imperial Hotels Corp. v. Dore, 257 F.3d

615, 620 (6th Cir. 2001) (quoting Pedigo v. UNUM Life Ins. Co., 145 F.3d 804, 808 (6th Cir.

1998)). Also, to the extent that the highest court in Ohio has not addressed the issue presented,


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this Court must anticipate how Ohio’s highest court would rule. Id. (quoting Bailey Farms, Inc.

v. NOR-AM Chem. Co., 27 F.3d 188, 191 (6th Cir. 1994)).

C.       Analysis

        1.     National origin discrimination under Title VII and ORC § 4112.02

        DiPietro’s first claim is that Morgan Stanley discriminated against him based on his

national origin in violation of Title VII, 42 U.S.C. § 2000e-2(a)(1). Title VII states that "[i]t

shall be unlawful employment practice for an employee…to fail or refuse to hire or to discharge

any individual, or otherwise to discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such

individual's…national origin….” A plaintiff may survive a defendant’s motion for summary

judgment on a claim of discrimination either by presenting direct or indirect evidence.

               a.       Direct evidence

        Direct evidence is where an employer’s statement directly shows discriminatory motive.

See Schlett v. Avco Fin. Servs., Inc., 950 F. Supp. 823, 828 (N.D. Ohio 1996). Evidence that

would require the jury to infer a fact is not direct evidence. Manzer v. Diamond Shamrock

Chemicals Co., 29 F.3d 1078, 1081 (6th Cir. 1994). Direct evidence in the form of verbal

comments is akin to an employer telling its employee, “I fired you because you are disabled.”

Smith v. Chrysler Corp., 155 F.3d 799, 805 (6th Cir. 1998). In analyzing discriminatory

comments, factors to consider include whether a decision maker or an agent made the comment,

whether the comment was related to the decision-making process, and whether the comment and

the discriminatory act were close in time. See Cooley v. Carmike Cinemas, Inc., 25 F.3d 1325,

1330 (6th Cir. 1994).


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       In the instant case, DiPietro argues that the amused reaction of his immediate supervisor,

Anthony Ritter, to a co-worker’s mob like comments directed at DiPietro constitutes direct

evidence that he was terminated because of his Italian heritage. He also argues that Ritter’s

failure to stop another employee from sending discriminatory emails to him constitutes direct

evidence. However, DiPietro presents no evidence that the comments and emails, which were

not made by a decision maker, were part of the decision-making process. Moreover, the incident

involving the mob reference was made nearly six months before DiPietro resigned or was

terminated. The incident involving the “Vincent DiPietro Sightings” poster and subsequent

emails occurred before the August 2004 incident involving the mob reference. Such evidence

would require a jury to make several inferences in order to conclude DiPietro was terminated

due to his national origin. Thus, there is no direct evidence of a discriminatory motive on behalf

of Morgan Stanley.

               b.     Indirect evidence

       Where the plaintiff is unable to show direct evidence of discrimination, courts use a

burden-shifting approach. The Supreme Court explained:

               First, the plaintiff has the burden of proving by the preponderance of
               the evidence a prima facie case of discrimination. Second, if the
               plaintiff succeeds in proving the prima facie case, the burden shifts
               to the defendant "to articulate some legitimate, nondiscriminatory
               reason for the employee's rejection." Third, should the defendant
               carry this burden, the plaintiff must then have an opportunity to prove
               by a preponderance of the evidence that the legitimate reasons
               offered by the defendant were not its true reasons, but were a pretext
               for discrimination.

Texas Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 252-53 (1981) (citing McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802, 804 (1973)).


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       In order to prove a prima facie case of disparate treatment under Title VII based upon

indirect evidence, a plaintiff must prove that: (1) he is a member of a protected class; (2) an

adverse employment action was taken against him; (3) he was qualified for the job; and (4) he

was replaced by someone outside the protected class, or treated differently than similarly situated

non-protected employees. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973); see

also Warfield v. Lebanon Correctional Inst., 181 F.3d 723, 728 (6th Cir. 1999); Kirkland v. St.

Elizabeth Hosp., 120 F. Supp. 2d 660, 665-66 (N.D. Ohio 2000); O’Hara v. Mt. Vernon Bd. of

Educ., 16 F. Supp. 2d 868, 886 n.16 (S.D. Ohio 1998). In order to prove the alternative basis of

the fourth element, a plaintiff must produce evidence that the “relevant other employees are

‘similarly situated in all respects.’” See Hollins v. Atlantic Co., 188 F.3d 652, 659 (6th Cir.

1999) (quoting Mitchell v. Toledo Hosp., 964 F.2d 577, 583 (6th Cir. 1992)).

       Once the plaintiff establishes the prima facie case, the employer must meet its burden of

production to establish a legitimate, nondiscriminatory reason for the plaintiff’s discharge or

denial of promotion. See Texas Department of Comm. Affs. v. Burdine, 450 U.S. 248, 253

(1981); McDonnell Douglas, 411 U.S., at 802. The burden of production then shifts back to the

plaintiff to show by a preponderance of the evidence that the employer’s legitimate reasons are

merely pretexts for discrimination. See McDonnell Douglas, 411 U.S. at 802. The plaintiff may

establish pretext by showing that the employer’s proffered explanation is false or unworthy of

credence. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133 (2000).

       In the instant case, there is no genuine issue of fact but that Morgan Stanley did not

replace DiPietro with someone outside the protected class and did not treat DiPietro differently

than similarly situated non-protected employees. DiPietro has not set forth any evidence to


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support a finding that he was replaced by someone who was not of Italian heritage. Although

DiPietro argues that Ryka Shaffer and Steve O’Neill were treated differently than him, he has

brought no evidence to the Court’s attention that Ms. Shaffer and Mr. O’Neill were similarly

situated employees. Unlike DiPietro, neither Shaffer nor O’Neill engaged in repeated

absenteeism. Moreover, Shaffer was a sales assistant with duties that were generally secretarial

in nature; DiPietro was a financial advisor. DiPietro Depo. at 29, 56. Thus, DiPietro has failed

to show a discriminatory motive on behalf of Morgan Stanley.

       Additionally, DiPietro has no evidence that Morgan Stanley’s legitimate, non-

discriminatory reason for demanding his resignation was pretextual. Rather than call into

question the legitimacy of Morgan Stanley’s decision, DiPietro criticizes the wisdom of the

decision by pointing out that 70% of his clientele have followed him to his new employment and

that Shaffer was hostile to him. Doc. 17. Even if Morgan Stanley made its decision to terminate

DiPietro based on information that later turned out to be inaccurate, the reason is not pretextual

“simply because it is ultimately shown to be mistaken or incorrect.” Kurincic v. Stein, Inc., 30

Fed. Appx. 420, 425 (6th Cir. 2002). For these reasons, Summary Judgment will be awarded on

DiPietro’s national origin discrimination claim.

       2.      Retaliation under Title VII

       DiPietro claims that Morgan Stanley terminated his employment in retaliation in

response to complaints he made to his superior concerning the August 2004 incident. To

establish a prima facie case of retaliation, DiPietro must show that (1) he engaged in a protected

activity; (2) Morgan Stanley was aware of such activity; (3) Morgan Stanley thereafter took

adverse employment action against DiPietro; and (4) there was a causal connection between the


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protected activity and the adverse employment action. Bacon v. Honda of Am. Mfg., Inc., 192

Fed. Appx. 337, 342 (6th Cir. 2006).

       To establish a causal connection, there must be evidence sufficient to raise an inference

that the protected activity was the “likely reason for the adverse action” Dixon v. Gonzales, 481

F.3d 324, 333 (6th Cir. 2007). When the basis of the causal connection element is temporal

proximity between an employer's knowledge of protected activity and an adverse employment

action, the temporal proximity must be “very close.” Clark County Sch. Dist. v. Breeden, 532

U.S. 268, 273-74 (2001). The Sixth Circuit has interpreted “very close” on a case-by-case basis;

generally, only a few weeks is “very close.” See e.g. Randolph v. Ohio Dep’t of Youth Servs.,

453 F.3d 724, 737 (6th Cir. 2006) (less than one month sufficient); Smith v. City of Salem, 378

F.3d 566, 571 (6th Cir. 2004) (less than a week sufficient); DiCarlo v. Potter, 358 F.3d 408, 421-

22 (6th Cir. 2004) (three weeks sufficient). Absent additional evidence, two to five months is a

“loose temporal proximity ... insufficient to create a triable issue.” Hafford v. Seidner, 183 F.3d

506, 515 (6th Cir. 1999).

       In the instant case, there is no genuine issue but that DiPietro cannot establish a causal

link between his actions and his termination. DiPietro complained to Ritter about the August

2004 incident the day after it happened and O’Neill was transferred later that month. DiPietro

Depo. at 80-81, 92-93. DiPietro alleges no further problems with national origin discrimination

after O’Neill’s transfer. Id. at 92-93. On February 4, 2005, nearly six months after the August

2004 incident, Ritter and Finley first spoke with DiPietro concerning his termination or

resignation. Id. at 151. DiPietro resigned five days later, on February 9, 2005. Id. at 156. A

nearly six-month period between DiPietro’s alleged protected activity and Morgan Stanley’s


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alleged adverse employment action is insufficient to establish a causal link between the two.

DiPietro has failed to present additional evidence to connect his complaint to Ritter with the

events surrounding his resignation. Additionally, DiPietro has no evidence that Morgan

Stanley’s legitimate, non-discriminatory reason for demanding his resignation was pretextual.

For these reasons, Summary Judgment will be awarded on DiPietro’s retaliation claim.

       3.      Breach of Oral Contract

       DiPietro claims that Morgan Stanley entered into and breached an oral contract with him

which called for Morgan Stanley to forgive his loans and tax obligations in exchange for his

resignation. Doc. 1 at ¶¶ 20-27. This claim fails for two reasons. First, a contract is not binding

“unless supported by consideration.” Lake Land Employment Group of Akron, LLC v.

Columber, 101 Ohio St.3d 242, 246-47 (2004). Consideration is either a “detriment to the

promisee or a benefit to the promisor.” Id. at 247.

       Since DiPietro was an at-will employee, Morgan Stanley “may legally terminate the

employment relationship at any time and for any reason.” Id. at 247. Thus, his resignation

would not provide any benefit to Morgan Stanley since Morgan Stanley could terminate his

employment at any time. His resignation also could not constitute a detriment because he had no

right to continued employment. Thus, DiPietro’s resignation cannot constitute sufficient

consideration. Although consideration need not be economically valuable to be sufficient,

DiPietro has failed to show what non-economic benefit Morgan Stanley sought, if any, in having

him resign rather than be terminated. Second, the original loan agreement between DiPietro and

Morgan Stanley states that the agreement “may not be modified or amended except by a writing

signed by both parties hereto.” See DiPietro Ex. 4. Where an agreement “clearly and


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unambiguously prohibits oral modification of its terms,” such agreement is “entirely ineffective.”

D.L. Baker & Co. v. Acosta, 720 F. Supp. 615, 618 (N.D. Ohio 1989). If the alleged oral

contract between DiPietro and Morgan Stanley concerning forgiveness of the note and payment

of taxes was to be conceived of as an oral modification of the original agreement it would be

ineffective. For these reasons, Summary Judgment will be awarded to Defendant on DiPietro’s

breach of oral contract claim.

       4.      Defamation

       In his Complaint, DiPietro claims that Morgan Stanley made “derogatory and defaming

statements about [his] character” based on statements made by Shaffer and O’Neill to his clients.

Doc. 1. Although Morgan Stanley moves this Court to dismiss DiPietro’s defamation claim,

DiPietro does not address this claim in his Response to Defendant’s Motion for Summary

Judgment. Docs. 15, 17. Defamation claims between private parties are subject to a one-year

statute of limitations. R.C. § 2305.11(A); Bell v. Ohio State Bd. of Trs., 2007 Ohio 2790 at ¶19

(10th App. Dist. 2007). DiPietro filed this action on June 30, 2006. Doc. 1. However, all of the

alleged conduct that forms the basis of DiPietro’s defamation claim occurred before June 30,

2005. DiPietro claims that Shaffer made defamatory statements to DiPietro’s clients while she

worked for DiPietro. DiPietro Depo. at 184-88. Since DiPietro resigned or was terminated on

February 9, 2005, any such statements were made before June 30, 2005. Id. at 156. DiPietro

also claims that O’Neill made defamatory statements to one of DiPietro’s clients in February or

March of 2005, more than one year before June 30, 2006. Id. at 181. Therefore, Summary

Judgment will be awarded on DiPietro’s defamation claim as it is time-barred under R.C. §

2305.11(A).


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D.      Conclusion

        For reasons herein stated, the Court hereby GRANTS Defendant’s Motion for Summary

Judgment. (Doc. 15). DiPietro presents no direct evidence of a discriminatory motive on behalf

of Morgan Stanley and cannot prove his prima facie case of indirect discrimination. DiPietro

cannot establish a causal link between his conduct and his termination sufficient to prove his

retaliation claim. Further, since DiPietro was an at-will employee, he gave no consideration

when he resigned in exchange for forgiveness of his loans and so no contract was formed.

Finally, DiPietro’s defamation claim is time-barred by the statute of limitations. Therefore,

Summary Judgment will be awarded on all of DiPietro’s claims. Final pretrial on Defendant’s

counterclaims remains set for December 20, 2007 at 3:30 p.m., in chambers.1

        DONE and ORDERED in Dayton, Ohio, Monday, October 15, 2007.



                                                                                          s/Thomas M. Rose
                                                                           ________________________________
                                                                                          THOMAS M. ROSE

                                                                            UNITED STATES DISTRICT JUDGE




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                The Court acknowledges the valuable contribution and assistance of judicial extern Christopher E. Cotter in
     drafting this opinion.

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